Case 9:21-cv-82056-AMC Document 18 Entered on FLSD Docket 04/25/2022 Page 1 of 15



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                        Case No: 21-CV-82056-CANNON/REINHART

  CELIA R. CLARK,
                                Plaintiff,

  v.


  UNITED STATES OF AMERICA, ET AL.,

                          Defendant.
  _____________________________________/

                         STANDING DISCOVERY ORDER FOR
                        MAGISTRATE JUDGE BRUCE REINHART

            The following procedures are designed to help the parties and the Court work

  together to accomplish civil discovery without undue delay and unnecessary expense.

       I.      GENERAL DISCOVERY PRINCIPLES

             A. Rule 26(b)(1) – Relevance and Proportionality

             Federal Rule of Civil Procedure 26(b)(1), as amended on December 1, 2015,

   defines the scope of permissible discovery:

            Unless otherwise limited by court order, the scope of discovery is as
            follows: Parties may obtain discovery regarding any nonprivileged
            matter that is relevant to any party’s claim or defense and
            proportional to the needs of the case, considering the importance of
            the issues at stake in the action, the amount in controversy, the parties’
            relative access to relevant information, the parties’ resources, the
            importance of the discovery in resolving the issues, and whether the
            burden or expense of the proposed discovery outweighs its likely benefit.
            Information within the scope of discovery need not be admissible in
            evidence to be discoverable.

   Fed. R. Civ. P. 26(b)(1). Therefore, an objection that a discovery request is not

   reasonably calculated to lead to admissible evidence is based upon an outdated
Case 9:21-cv-82056-AMC Document 18 Entered on FLSD Docket 04/25/2022 Page 2 of 15



   discovery standard.    An objection based on relevance or proportionality must

   include a specific explanation describing why the request lacks relevance and/or

   why the requested discovery is disproportionate in light of the factors listed in Rule

   26(b)(1).

          B. Rule 26(c) – Protective Orders

          Federal Rule of Civil Procedure 26(c) permits the Court to enter a protective

   order “to protect a party or person from annoyance, embarrassment, oppression, or

   undue burden or expense.” Fed. R. Civ. P. 26(c). A motion seeking relief under

   Rule 26(c) must include a specific explanation, supported by facts, demonstrating

   how complying with the discovery request would cause annoyance, embarrassment,

   oppression, or undue burden or cost.          The Court will reject a conclusory

   unsupported statement that Rule 26(c) relief is warranted. See S.D. Fla. L.R.

   26.1(g)(3).

          C. Non-Waiver

          Discovery is a dynamic process.       What is relevant or proportionate or

   cumulative or unduly burdensome can change as a case moves forward. The Court

   recognizes that a party may be unwilling to compromise its position on a particular

   discovery request because of concern that the concession will be deemed to waive a

   future objection or a future demand for related discovery.        To eliminate this

   concern, the Court evaluates all discovery requests and responses individually.

   Therefore, by responding, in whole or in part, to a discovery request, a party does

   not waive any objection to a future request. Likewise, by agreeing to limit a



                                        Page 2 of 15
Case 9:21-cv-82056-AMC Document 18 Entered on FLSD Docket 04/25/2022 Page 3 of 15



   discovery demand, a party does not waive its right to seek additional discovery in

   the future. Parties need not serve a response or objection that specifically reserves

   their rights or disavows a waiver.

         D. Rule 26(g) Certification

         Federal Rule of Civil Procedure 26(g) requires a lawyer or party requesting

   discovery, responding to a discovery request, or objecting to a discovery request to

   sign the relevant pleading. Fed. R. Civ. P. 26(g). The signature “certifies that to

   the best of the person’s knowledge, information, and belief formed after a

   reasonable inquiry” (1) any required disclosures are complete and correct and (2)

   any request, response, or objection is (i) consistent with the Federal Rules of Civil

   Procedure (including the proportionality requirement of Rule 26(b)(1)), (ii) not for

   an improper purpose, such as delay or needless increase in litigation cost, and (iii)

   not otherwise unreasonable “considering the needs of the case, prior discovery in

   the case, the amount in controversy, and the importance of the issues at stake in

   the action.” Id.   Rule 26(g) imposes an affirmative duty on counsel to conduct a

   reasonable inquiry prior to promulgating discovery or objecting to discovery and to

   conform discovery to what is reasonably necessary to the case at hand.           The

   procedures outlined in this Order are designed to help counsel ensure that their

   Rule 26(g) certifications are accurate, and to provide the Court with a complete and




                                        Page 3 of 15
Case 9:21-cv-82056-AMC Document 18 Entered on FLSD Docket 04/25/2022 Page 4 of 15



   accurate record to assess discovery behavior, including requests for sanctions based

   on discovery violations.

     II.     DISCOVERY OBJECTIONS

           A. Identifying Withheld Materials

           Objections to Requests for Production must “state whether any responsive

    materials are being withheld on the basis of that objection.” Fed. R. Civ. P.

    34(b)(2)(C). When a party asserts a discovery objection, the Court assumes that a

    Rule 26(g) compliant search has been conducted and that responsive materials

    exist. If a party interposes an objection and later asserts that no responsive

    documents exist, the Court will impose sanctions. If a party asserts that it would

    be too burdensome to search for responsive materials, the objection should make

    clear that no search has been conducted and explain why a search would be unduly

    burdensome.

           B. Boilerplate or General Objections

           The parties shall not make nonspecific, boilerplate objections. See, e.g., S.D.

   Fla. L.R. 26.1(e)(2)(A) (“Where an objection is made to any interrogatory or subpart

   thereof or to any production request under Federal Rule of Civil Procedure 34, the

   objection shall state with specificity all grounds.”). The parties also shall not make

   general objections that are not tied to a particular discovery request.          Such

   objections will be stricken by the Court.




                                         Page 4 of 15
Case 9:21-cv-82056-AMC Document 18 Entered on FLSD Docket 04/25/2022 Page 5 of 15



          C. Vague, Overly Broad, and Unduly Burdensome

         Objections that state that a discovery request is “vague, overly broad, or

   unduly burdensome” are, standing alone, meaningless, and will be stricken by this

   Court. If a party believes that a request or a term is vague, that party shall attempt

   to obtain clarification from opposing counsel prior to objecting on vagueness

   grounds.

         An objection that a discovery request is “overbroad” is ambiguous. If the

   objecting party asserts that the request seeks materials that are not relevant, the

   objection should say so. Alternatively, if the objector asserts that the request seeks

   materials that are relevant but excessive or cumulative, the objection should state

   that the request is disproportionate.

         If a party believes a discovery request seeks irrelevant information, is

   disproportionate, or is unduly burdensome, that party shall confer in good faith

   with opposing counsel to narrow the scope of the request before asserting these

   objections. The objecting party nevertheless shall respond as to those matters for

   which the scope or burden is not contested. For example, if there is an objection

   based upon the scope of the request, such as time frame or geographic location,

   discovery should be provided as to the time period or locations that are not

   disputed. Thus, if discovery is sought nationwide for a ten-year period, and the

   responding party objects on the grounds that only a five-year period limited to

   activities in the State of Florida is appropriate, the responding party shall provide

   responsive discovery falling within the five-year period as to the State of Florida.



                                        Page 5 of 15
Case 9:21-cv-82056-AMC Document 18 Entered on FLSD Docket 04/25/2022 Page 6 of 15



         A party objecting on any of these grounds must explain the specific and

   particular way in which a request is vague, seeks irrelevant information, is

   disproportionate, or is unduly burdensome. See Fed. R. Civ. P. 33(b)(4) and

   34(b)(2)(B); see also Dem. Rep. Congo v. Air Capital Grp., LLC, No. 12-CIV-20607,

   2018 WL 324976, at *3 (S.D. Fla. Jan. 8, 2018) (J. Torres) (quoting Sallah v.

   Worldwide Clearing LLC, 855 F. Supp. 2d 1364, 1376 (S.D. Fla. 2012) (J.

   Rosenbaum)) (“‘A party objecting on these grounds must explain the specific and

   particular way in which a request is vague, overly broad, or unduly burdensome.

   In addition, claims of undue burden should be supported by a statement (generally

   an affidavit) with specific information demonstrating how the request is overly

   burdensome.’”).   Unless impractical, an objection that ESI discovery based on

   proposed search terms is unduly burdensome should be supported by evidence of

   the expected number of hits or other similar evidence.

          D. Formulaic Objections Followed by an Answer

        A party shall not recite a formulaic objection followed by an answer. It has

  become common practice for a party to object to a discovery request, and then state

  that "notwithstanding the above," the party will respond to the discovery request,

  subject to or without waiving such objection. “Objecting but answering subject to the

  objection is not one of the allowed choices” under the Federal Rules of Civil Procedure.

  Spadaro v. City of Miramar, No. 11-61607-CIV, 2012 WL 12862641, at *4 (S.D. Fla.

  Apr. 25, 2012) (J. Seltzer) (citation omitted). Such a response improperly leaves the

  requesting party uncertain as to whether the discovery request (as propounded) has

  actually been fully answered, whether the response relates only to the request as

                                        Page 6 of 15
Case 9:21-cv-82056-AMC Document 18 Entered on FLSD Docket 04/25/2022 Page 7 of 15



  unilaterally narrowed by the responding party, and whether the responding party is

  withholding any responsive materials. See Consumer Elecs. Ass'n v. Compras & Buys

  Magazine, Inc., No. 08-21085-CIV, 2008 WL 4327253, at *3 (S.D. Fla. Sept. 18, 2008)

  (J. Simonton).

         For a Request for Production, the proper practice is to (1) state whether

   documents are being provided in response to the request and identify those

   documents by sequential number or category, and (2) state whether any responsive

   documents are being withheld, and if so the specific legal basis for that objection.

   See Fed. R. Civ. P. 34(b)(2)(C) (objection must “state whether any responsive

   materials are being withheld on the basis of that objection”); S.D. Fla. L.R.

   26.1(e)(6) (“Each page of any document produced in a non-electronic format must

   be individually identified by a sequential number that will allow the document to

   be identified but that does not impair review of the document.”). Samples of proper

   objections include:

               Defendant is providing documents marked as Defense 1–250, as
         well as a USB drive containing emails for the following custodians in
         native format: ______. Defendant has identified other documents which
         are responsive to the request as propounded, but Defendant asserts
         that those additional documents are irrelevant to the claims and
         defenses in this matter because _____.

              Plaintiff is providing documents marked as Plaintiff 1–100.
         Plaintiff has identified other documents which are responsive to the
         request as propounded, but Plaintiff asserts that production of those
         materials would be disproportionate to the needs of the case because
         the burden and expense of the proposed discovery outweigh its likely
         benefit for the following reasons: ______.

        For an Interrogatory, stating both an objection and an answer waives the

  objection. See, e.g., Tardif v. People for the Ethical Treatment of Animals, No. 2:09-

                                       Page 7 of 15
Case 9:21-cv-82056-AMC Document 18 Entered on FLSD Docket 04/25/2022 Page 8 of 15



  CV-537-FTM-29, 2011 WL 1627165, at *4 (M.D. Fla. Apr. 29, 2011) (“[W]henever an

  answer accompanies an objection, the objection is deemed waived, and the answer, if

  responsive, stands.”); but see Proflex Prods., Inc. v. Protecto Wrap Co., No. 12-21280-

  CIV, 2013 WL 12064531, at *1 (S.D. Fla. July 18, 2013) (J. Hunt) (holding that where

  discovery request can be subdivided without ambiguity, a party may object to a

  portion of the interrogatory specifically while also providing an answer to the non-

  objectionable portion.).

          E. Production at an Indeterminate Time

         It has also become a common practice to respond to Requests for Production

   by saying that the party will either produce responsive materials, or make those

   materials available for inspection, at an indeterminate future date. Such a response

   is not a response and only serves to delay the discovery process. Federal Rule of

   Civil Procedure 34(b)(2)(B) states that a production must be “completed no later

   than the time for inspection specified in the request or another reasonable time

   specified in the response.”     Fed. R. Civ. P. 34(b)(2)(B).      Hence, unless all

   unobjectionable materials are being produced contemporaneously with the written

   response, the response must specify a date by which production will be completed;

   the respondent may adopt the date proposed in the request or may propose its own

   reasonable time, after consultation with opposing counsel.

         The Court strongly encourages parties to engage in rolling production of

   documents. If a rolling production is to occur, the parties shall confer about a

   production schedule, including the order in which categories of documents will be



                                       Page 8 of 15
Case 9:21-cv-82056-AMC Document 18 Entered on FLSD Docket 04/25/2022 Page 9 of 15



   produced, and a good faith estimate of the date by which production will be

   completed.

  Whether by rolling production or otherwise, a final production date more than 30

  days after the response deadline (i.e., generally 60 days after the request is served)

  is presumptively unreasonable under Rule 34(b)(2)(B). That being said, the parties

  will be in the best position to assess the timing of discovery in a particular case.

  Therefore, the parties may agree to a longer period for production, without leave of

  Court. In the absence of agreement among the parties, if the production will not be

  completed within 30 days of the response deadline, a motion for enlargement of time

  should be filed by the responding party. The motion shall include a good cause

  explanation for why production cannot be completed within that time period, and a

  proposed schedule for completing the production. The opposing party shall respond

  within 72 hours.

          F. Objections Based upon Privilege – Requests for Production and
             Interrogatories

         Generalized objections asserting attorney-client privilege or work product

   doctrine also do not comply with the Local Rules. Local Rule 26.1(e)(2)(B) requires

   that objections based upon privilege identify the specific nature of the privilege

   being asserted, as well as, inter alia, the nature and subject matter of the

   communication at issue and the identities of the parties to the communication. S.D.

   Fla. L.R. 26.1(e)(2)(B). Local Rule 26.1(e)(2)(C) requires a privilege log. S.D. Fla.

   L.R. 26.1(e)(2)(C). If a general objection of privilege is made without attaching a

   proper privilege log, the objection of privilege may be deemed waived.           The


                                       Page 9 of 15
Case 9:21-cv-82056-AMC Document 18 Entered on FLSD Docket 04/25/2022 Page 10 of 15



    production of non-privileged materials should not be delayed while a party is

    preparing a privilege log.

           G. Objections Based upon Privilege – Depositions

          In general, it is improper for a party to object to a noticed deposition with a

    blanket assertion of privilege. See S.E.C. v. Merkin, 283 F.R.D. 689, 698 (S.D. Fla.

    2012) (J. Goodman), objections overruled, 283 F.R.D. 699 (S.D. Fla. 2012) (J.

    Graham). Rather, assertions of privilege during a deposition should be raised on a

    question-by-question basis, thus providing the Court with a record from which it

    can determine whether each assertion of privilege was proper.

          Similarly, the Court typically will decline to rule on objections made in

    advance of a Rule 30(b)(6) deposition of a corporate representative. “In situations

    where a particular [Rule 30(b)(6)] noticed topic is alleged to be outside the scope of

    Rule 26 discovery . . . the remedy . . . does not involve this Court preemptively

    reviewing arguments on relevance or overbreadth.” Balu v. Costa Crociere S.P.A.,

    No. 11-60031-CIV, 2011 WL 3359681, at *3 (S.D. Fla. Aug. 3, 2011) (J. Torres)

    (emphasis in original) (quoting New World Network Ltd. v. M/V Norwegian Sea,

    2007 WL 1068124, at *2–3 (S.D. Fla. Apr. 6, 2007)) (noting that “‘the Rule is

    intended to be self-executing and must operate extrajudicially’”). Rather than the

    court intervening prior to the scheduled deposition, “the better procedure to follow”

    is for a corporate deponent to object to a topic as the questions are being posed, and

    for the opposing party to move to compel additional answers, if necessary, after the

    deposition. Balu, 2011 WL 3359681, at *4. This procedure “will give the Court a

    factual record with which to judge whether a particular topic or question asked

                                        Page 10 of 15
Case 9:21-cv-82056-AMC Document 18 Entered on FLSD Docket 04/25/2022 Page 11 of 15



    should be compelled or not.” Id. In sum, while a lawyer can object to a deposition

    question and instruct a Rule 30(b)(6) witness not to answer on relevance grounds,

    if the Court overrules the objection, the Court will assess fees and costs for

    reconvening the 30(b)(6) deposition.

           H. Instructions to the Responding Party

          A party propounding discovery cannot impose legal obligations on the

    respondent through the use of Instructions. Discovery is governed by the rules of

    Court, which cannot be unilaterally supplemented by a party. Any Instruction that

    purports to impose a duty not otherwise mandated by the Federal Rules of Civil

    Procedure or the Local Rules of this Court has no legal effect and only serves to

    waste the time and resources of the Court and the parties.

    III. PROCEDURES FOR DISCOVERY DISPUTES

          A. Pre-Hearing Communication

          If a discovery dispute arises, counsel must actually speak to one another

    (in person or via telephone) and engage in reasonable compromise in a genuine

    effort to resolve their discovery disputes before seeking Court intervention.

          B.   Hearing Procedures

          If, after conferring, the parties are unable to resolve their discovery

    disputes without Court intervention, Magistrate Judge Reinhart will set the matter

    for a hearing pursuant to the following procedures. No discovery motions shall be

    filed until after the parties have engaged in this process. If the dispute is not

    resolved at the discovery hearing, the Court will consider authorizing the filing of


                                       Page 11 of 15
Case 9:21-cv-82056-AMC Document 18 Entered on FLSD Docket 04/25/2022 Page 12 of 15



    an appropriate discovery motion, which will then implicate the sanctions provisions

    of Federal Rule of Civil Procedure 37(a)(5).

          The moving party may request a discovery hearing by sending an email to

    reinhart@flsd.uscourts.gov. The subject line of the email shall be “Request for

    Discovery Hearing.” The email shall provide the Court with two afternoons in

    the following seven business days when all parties are available. The email

    shall state the amount of time that the parties anticipate needing for the hearing.

    The email shall be copied to all counsel, and shall certify that the moving party

    has conferred with opposing counsel and confirmed opposing counsel’s

    availability on the proposed dates. The Court will enter an order setting the

    hearing. Counsel are required to appear in person at the discovery hearing

    unless otherwise excused by the Court.

          At least 48 hours prior to the scheduled hearing, the parties shall file a joint

    discovery memorandum of five pages or less (1) specifying the substance of the

    discovery matter to be heard, (2) certifying that the parties have complied with the

    pre-hearing communication requirement set forth above, and (3) attaching a copy of

    all source materials relevant to the discovery dispute (e.g., if the dispute concerns

    interrogatories, the interrogatories at issue and any responses thereto shall be

    provided to Chambers). A sample format for the joint discovery memorandum is

    attached as Appendix 1 to this Order.          This procedure does not apply when

    non-parties object to subpoenas served upon them.




                                        Page 12 of 15
Case 9:21-cv-82056-AMC Document 18 Entered on FLSD Docket 04/25/2022 Page 13 of 15



           C.   Encouraging Participation by Less-Experienced Lawyers

          Ordinarily, only one lawyer for each party may argue at the discovery

    hearing. Nevertheless, the Court has a strong commitment to supporting the

    development of our next generation of lawyers. The Court encourages parties and

    senior attorneys to allow less-experienced practitioners the opportunity to argue in

    court. A party should advise the Court prior to the beginning of the hearing if a

    lawyer of 5 or fewer years of experience will be arguing the matter. In that event,

    the Court will allow multiple lawyers to argue on behalf of that party

         DONE and ORDERED in Chambers at West Palm Beach, Florida, on April

   25, 2022




                                                 BRUCE E. REINHART
                                                 United States Magistrate Judge




                                       Page 13 of 15
Case 9:21-cv-82056-AMC Document 18 Entered on FLSD Docket 04/25/2022 Page 14 of 15



                                        APPENDIX 1

           The parties certify that they have complied with the requirements for pre-

   hearing consultation contained in the Court’s Standing Discovery Order. Despite good

   faith efforts to resolve their differences, the following issues require resolution by the

   Court

           1. The parties dispute the appropriate time frame for Plaintiff’s Interrogatory

              Nos. 1, 5, 6-9. Plaintiff asserts that the time frame should be limited to ____

              because [legal basis for position, such as relevance, undue burden,

              disproportionate]. Defendant believes the proper time frame is _____.

           2. Defendant objects to Request for Production 3. Defendant has produced ____

              in response to the Request, believes that additional documents exist, but

              objects to the production of those documents because _____.            Plaintiff

              believes   that   all   the    materials      sought   by   the   Requests   are

              [relevant/proportional/not unduly burdensome] because ______.

           3. Plaintiff objects to Request for Production 9, which calls for production of

              voluminous documents/electronic communications. Plaintiff asserts that it

              will be unduly burdensome and costly to conduct searches to identify if

              responsive documents exist. Defendant asserts that, to minimize cost and

              burden, it has proposed to limit the time frame of the request and has offered

              search terms as follows:_____.

           4. Plaintiff objects to Interrogatory 7 because it would require disclosure of

              communications and materials protected by the attorney-client/work

              product privilege. Defendant asserts that no privilege exists because ____.

                                            Page 14 of 15
Case 9:21-cv-82056-AMC Document 18 Entered on FLSD Docket 04/25/2022 Page 15 of 15



   Copies of the relevant discovery requests and related pleadings are attached, as

   follows:

         1. Plaintiff’s First Interrogatories and Defendant’s Response and Objections

         2. Defendant’s Request for Production and Plaintiff’s Objections




                                      Page 15 of 15
